USCA4 Appeal: 23-4509         Doc: 12-1            Filed: 08/14/2023         Pg: 1 of 34




                                                Docket No. 23-4509

                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

        United States of America ...............................................................Plaintiff-Appellee,
                                                            v.

        Russell Lucius Laffitte .............................................................. Defendant-Appellant.

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA,
               BEAUFORT DIVISION, RICHARD M. GERGEL, DISTRICT JUDGE


             DEFENDANT-APPELLANT’S MOTION FOR RELEASE PENDING
                                 APPEAL


        William W. Wilkins                                    Mark C. Moore
        MAYNARD NEXSEN PC                                     Michael A. Parente
        104 S. Main Street, Suite 900                         MAYNARD NEXSEN PC
        Greenville, SC 29601                                  1230 Main Street, Suite 700
        Phone: 864.370.2211                                   Columbia, SC 29201
        Fax: 864.282.1177                                     Phone: 803.771.8900
        Email: bwilkins@maynardnexsen.com                     Fax: 803.253.8277
                                                              Email: mmoore@maynardnexsen.com
                                                              Email: mparente@maynardnexsen.com

                                                              John C. Neiman, Jr.
                                                              MAYNARD NEXSEN PC
                                                              901 Sixth Avenue North, Suite 1700
                                                              Birmingham, AL 35203
                                                              Phone: 205.254.1000
                                                              Fax: 205.254.1999
                                                              Email: jneiman@maynardnexsen.com

                                                              Counsel for Defendant-Appellant
                                                              Russell Lucius Laffitte
USCA4 Appeal: 23-4509            Doc: 12-1               Filed: 08/14/2023             Pg: 2 of 34




                                                 TABLE OF CONTENTS


        INTRODUCTION .....................................................................................................2

        FACTUAL BACKGROUND ....................................................................................2

          I. The court received four notes from jurors late in their deliberations...............2

          II. The court removed Juror 88 after a three-minute in camera interview, and
          removed Juror 93 without speaking to her. ............................................................9

          III.     Laffitte’s objected to the court’s replacement of the jurors. .......................10

          IV.      The two removed jurors executed affidavits following trial. ......................12

          V. The court denied consideration of the juror affidavits, denied a motion for
          new trial, and sentenced Laffitte. ..........................................................................15

        STANDARD OF REVIEW .....................................................................................16

        ARGUMENT ...........................................................................................................17

          I. Laffitte is not likely to flee, does not pose a danger to the community, and is
          not appealing for the purpose of delay. ................................................................17

          II. The district court is likely to be reversed based on its erroneous removal of
          the two jurors. .......................................................................................................18

          a. The district court committed reversible error by removing Juror 88 outside
          Laffitte’s presence.................................................................................................18

          b. The court committed reversible error by removing Juror 93. ........................27

        CONCLUSION ........................................................................................................30

        CERTIFICATE OF COMPLIANCE .......................................................................32

        CERTIFICATE OF SERVICE ................................................................................33



                                                               1
USCA4 Appeal: 23-4509       Doc: 12-1        Filed: 08/14/2023    Pg: 3 of 34




                                           INTRODUCTION
                 Defendant Russell Lucius Laffitte (“Laffitte”) respectfully requests that this

        Court grant him release pending the outcome of his appeal. The district court (“the

        court” or alternately, “the district court”) committed fundamental and extraordinary

        errors in discharging two jurors during deliberations outside Laffitte’s presence.

        Laffitte is likely to obtain reversal of his convictions, and he should not be required

        to go to prison under these circumstances. The Government opposes this Motion.


                                     FACTUAL BACKGROUND
            I.   The court received four notes from jurors late in their deliberations.
                 Laffitte was indicted on charges of bank fraud, wire fraud, misapplication of

        bank funds, and conspiracy. Dkt. 61. Laffitte’s trial commenced on November 8,

        2022, and jury deliberations did not start until the morning of November 22 – two

        days before Thanksgiving and the day before the court was to close for the holiday.

        Dkt. 223 (attached as Exhibit A). After over nine hours of deliberations, the court

        received four juror notes (Dkt. 205 at 2-5, attached as sealed Exhibit B) that

        ultimately prompted it to dismiss two jurors that night. Dkt. 223 at 49-52.

                 The first two notes, from the same juror,1 were read by the court to the parties

        at 7:43 p.m. Id. at 49-51. The court did not provide copies of the notes to the parties



        1




                                                 2
USCA4 Appeal: 23-4509      Doc: 12-1        Filed: 08/14/2023    Pg: 4 of 34




        and did not read them in their entirety on the record. The first, as read into the record

        by the district court, stated, “Need antibiotic at 19:21. I could delay one or two

        hours.” Id. at 50. 2 The second stated, “Feeling pressured to change my vote.” Id.

        Based on this information only, the court opined that its “instinct” was “that we have

        alternates and we should get to a verdict, and that it is not practical to get her

        medicine and drive back.” Id. at 50 (emphasis added).

               Laffitte’s trial counsel suggested that the jurors instead “come back in the

        morning.” Id. The court resisted, stating, “we don’t have an issue of them not

        deliberating” Id—and the court appeared to gloss over the concern expressed by the

        juror that she was feeling pressured to change a vote. The Government expressed

        concern about the planned court closure the next day, arguing that “[e]specially with

        the impending holiday ahead of us, we would like for them to continue to deliberate

        tonight.” Id. at 51.

               Before taking action on the first two notes, the court announced that it had

        received a third note from a group of jurors, reading:

                      On page 11, your final charge to us states that if you let
                      fear or prejudice or bias or sympathy interfere with your

        2




                                  (Dkt. 258, attached as sealed Exhibit E.)

                                                3
USCA4 Appeal: 23-4509       Doc: 12-1        Filed: 08/14/2023    Pg: 5 of 34




                      thinking, there is a risk that you will not arrive at a true
                      and just verdict. A juror’s previous court experience is
                      influencing that juror’s ability to discuss the trial in a
                      group setting. That juror has made comments on having
                      been bullied as a juror on previous trials and will not
                      consider the evidence in this trial. The juror is hostile to
                      hearing any debate from certain other jurors, and the juror
                      disagrees with your final charge and specifically the
                      definitions you’ve provided. We respectfully ask that you
                      consider speaking to this issue so that we are able to
                      proceed with deliberations.

        Id. at 52. The court informed the parties it had “no idea” whether the “non-

        deliberating” juror was the same juror who sent the first two notes. Id. The court

        stated, “This appears to be -- I can’t quite figure out. May be all the other jurors[?]”

        Id. 3

                While discussing that note with the parties, the court received a fourth note,

        which the court said came from “a different juror.” Id. The court read into the record:

        “Your Honor, can you please call an alternate as I am experiencing anxiety and

        unable to clearly make my decision?” Id.

                As it turned out, the court had not disclosed the notes in full to the parties. On

        July 17, 2023,

                                                                    Dkt. 300. The notes contain




        3




                                                 4
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023    Pg: 6 of 34




        important information the court had not previously disclosed.



                    Dkt. 205 at 5.



                                                            Id. at 3.



                                                                        Id. at 4.




              , the court discussed next steps with the parties. Despite the fact that the court

        was now facing significant issues with a jury that perhaps required recharging on the

        issue of how it should reach a verdict, the court did not suggest doing that or simply

        sending the jury home for the evening and bringing it back the next day.

               Regarding the purportedly “non-deliberating” juror, it said, “If a juror told

        me that she was unable or … unwilling to consider the evidence because of prior

        court experience, I would remove the juror, whatever that is … I just would remove

        someone, because we don’t allow people to serve on juries that don’t follow the

        Court’s instructions.” Dkt. 223 at 53. The court noted that it “had no idea” if the

        “non-deliberating” juror was the juror who inquired about needing medicine—and


                                               5
USCA4 Appeal: 23-4509     Doc: 12-1       Filed: 08/14/2023    Pg: 7 of 34




        the court further indicated that it did not know whether multiple jurors might be

        failing to deliberate. Id. The court “welcome[d] suggestions from the parties.” Id.

              After the Government recommended that the court replace both the “non-

        deliberating” juror and the juror needing medication – but said nothing about the

        anxious juror – the court announced its “inclination” to “speak to” the “non-

        deliberating” juror. Id. at 55. The court opined that it would be a “huge mistake” to

        “bring the [non-deliberating] juror into the courtroom” and suggested that the “best

        way” to proceed would be for the court “and a court reporter and [the] deputy … to

        create a record of this, and simply ask the [non-deliberating] juror in a conference

        room” if “there [was] a problem.” Id.

              As to the juror needing medication, the court stated, “I think the one with the

        medicine we need to send home. She needs her medicine … If that happens to be the

        same person, that happens to be the same person.” Id. at 56.




                 .4

              Turning to the “person with the anxiety,” the court stated, “[T]hat’s a concern



        4




                                                6
USCA4 Appeal: 23-4509     Doc: 12-1          Filed: 08/14/2023   Pg: 8 of 34




        for me too … having somebody who says I can’t do it anymore.” Id. at 57. “But,”

        the court added, “I want to hear from everybody before I make a decision, because I

        think we are on virgin territory … I’ve never has this experience.” Id. The

        Government stated its positions as to each of the potential juror situations. The

        Government said that the juror needing medicine “should be allowed to go home”;

        that the juror who could not “follow the law” should be “struck for cause”; and that

        the “anxious” juror was “still a viable juror.” Id. at 56-57. The court responded that

        it had not yet confirmed that there was a “non-deliberating” juror and said that it did

        not “want anybody else ganging up on somebody and trying to bump them off a

        jury.” Id. at 56-57. “I can’t let a juror be bumped out one way or the other who says,

        that’s not accurate, I’m fully participating, they just don’t agree with me,” the court

        said. Id. at 57. “[T]hat’s not a juror I remove … I tell them in my charge hold your

        convictions whatever that is.” Id.

              Reiterating its intent to “confirm” reports of a non-deliberating juror, the court

        announced, “[W]ith the consent of the parties, we are going to set up a place where

        I will take a court reporter, and without anyone present but the court reporter, I will

        create a record. And with my deputy and my court reporter, I will ask the juror if

        there’s a problem.” Id. at 58.

              While Laffitte’s counsel did not interject at this point, the Government

        requested that the court not only interview the allegedly “non-deliberating” juror,


                                                7
USCA4 Appeal: 23-4509    Doc: 12-1        Filed: 08/14/2023   Pg: 9 of 34




        but also “do the same thing with the juror who’s reporting being anxious.” Id. The

        court did not respond, and repeated its request for consent only to interview the

        purportedly “non-deliberating” juror: “Do I have the consent of the parties for me

        creating a record to question the juror?” Id. Counsel for both the Government and

        Laffitte gave their consent for the court only to “create[] a record to question the

        juror.” Id. The court never addressed Laffitte directly and never explained to him

        his rights and its intentions beyond interviewing the juror. And while the record

        reflects that the Government agreed to the replacement of the juror needing

        medication prior to the court’s departure from the courtroom, Laffitte’s counsel did

        not voice such an agreement to the replacement of any juror.

              The court dispatched its deputy to speak to the jury foreman to determine

        the purportedly “non-deliberating” juror’s identity. Id. at 59-60.5 It then told the

        parties, “I’m going to take action.” Id. at 60. As to the “action” of creating a

        record, Government counsel responded affirmatively, and Laffitte’s counsel did

        not respond before the court conducted the in camera review. Id.




        5




                                              8
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023    Pg: 10 of 34




        II.   The court removed Juror 88 after a three-minute in camera interview,
              and removed Juror 93 without speaking to her.
              The court then did something it never told the parties it might do: it not only

        conducted a three-minute interview with

               , Dkt. 212 (attached as sealed Exhibit C), it also removed her without

        consulting the parties and did so outside the presence of Laffitte, his trial counsel,

        and the Government. Dkt. 223 at 60.

              Upon returning to the courtroom at 8:27 p.m., the court announced that the

        “juror regarding the medicine” – Juror 93 – “ha[d] been replaced and ha[d] been

        allowed to go home.” Id. It did so even though neither Laffitte nor his counsel had

        agreed to this juror’s removal prior to that time. It also did so even though the court

        did not speak with Juror 93, and



              The court then announced that it had “spoke[n] with the juror expressing

        anxiety” – Juror 88. Id.




                                                    The court instead told the parties that she

        “asked to be relieved and said she wasn’t able to go forward, and I removed her. I




                                               9
USCA4 Appeal: 23-4509     Doc: 12-1         Filed: 08/14/2023    Pg: 11 of 34




        relieved her. I granted her request … for an alternate.” Id. 6

               The court, without explaining how it knew this, then informed counsel that

        the “decisions [it had] made resolved the other issue,” relating to the purportedly

        “non-deliberating” juror. Id. at 61.


        III.   Laffitte’s specifically objected to the court’s replacement of Juror 88.
               Laffitte’s trial counsel immediately objected7 to the removal of “the second

        juror that was replaced [for] anxiety.” Id. at 62. The court stated, “You can make an



        6




        7
          Although Laffitte’s trial counsel inaccurately stated that he had previously agreed
        with the removal of the juror who needed medication, it must be noted that the record
        does not reflect such an agreement—indeed, trial counsel had initially requested that
        the court break for the evening after learning of the first note received that evening
        from the juror who indicated she needed medication in several hours.

                                               10
USCA4 Appeal: 23-4509      Doc: 12-1        Filed: 08/14/2023    Pg: 12 of 34




        objection,” but this juror was “emotionally very fragile.” Id. “She could hardly speak

        to me,” the court said. Id. “And she explained to me she was on anxiety medication

        and that she was not physically capable or emotionally capable of going forward.”

        Id. The court then replaced the removed jurors with two alternates. The court briefly

        addressed the reconstituted jury, but did not fully charge it, and the jury retired to

        deliberate. Id. at 62-63.

              Laffitte’s counsel then renewed his objection to the removal of Juror 88. Id.

        at 63. The court called the objection a “moment late,” claiming that Laffitte’s counsel

        had “agreed to” the “procedure.” Id. at 64. Laffitte’s trial counsel disagreed, saying,

        “I thought we were just going to be interviewing them, not necessarily replacing

        them.” Id. The court responded:

                     You know, I try to be as transparent as I could. I read
                     everybody everything. I asked what you wanted me to do.
                     I interviewed the juror, who was plainly incapable of
                     continuing, and she was in an emotional meltdown. And I
                     removed her. And that’s what I understood y’all—we had
                     agreed that I would interview her and I would make a
                     decision.

        Id. Laffitte’s trial counsel expressed his understanding that “[w]e thought you were

        coming back to tell us what the juror said or to give us what your decision would be

        so that we could object to it.” Id. at 65. Laffitte’s counsel said that if the court had

        informed the parties that Juror 88 was “emotionally incapable of functioning and

        [had] asked [the court] again to remove her,” – which, again, she did not do –


                                               11
USCA4 Appeal: 23-4509      Doc: 12-1         Filed: 08/14/2023   Pg: 13 of 34




        Laffitte’s counsel would have “stated that it’s a hung jury.” Id. “It’s not a hung jury,”

        said the court. Id. “I have alternates.” Id.

              Only 49 minutes after the newly constituted jury purportedly began

        deliberations anew, it reached guilty verdicts on all six counts. Id. at 63-69.


        IV.   The two removed jurors executed affidavits following trial.




                                                                  Dkt. 257; Dkt. 258 (attached

        as sealed Exhibit D and Exhibit E).

                               (attached as sealed Exhibit F).




                                                12
USCA4 Appeal: 23-4509   Doc: 12-1   Filed: 08/14/2023   Pg: 14 of 34




                                       13
USCA4 Appeal: 23-4509   Doc: 12-1   Filed: 08/14/2023   Pg: 15 of 34




                                                                       8




        8




                                       14
USCA4 Appeal: 23-4509    Doc: 12-1        Filed: 08/14/2023   Pg: 16 of 34




         V.   The court denied consideration of the juror affidavits, denied a motion
              for new trial, and sentenced Laffitte.
              On December 6, 2022,                                               , Laffitte’s

        former counsel filed a Motion for New Trial, based primarily on these juror-

        replacement issues. Dkt. 224 (attached as Exhibit G). On December 20, Laffitte’s

        former counsel filed a Motion to Seal the juror affidavits, Dkt. 230, which was

        originally granted, Dkt. 232, then vacated when the court requested briefing on the

        affidavits’ admissibility under Federal Rule of Evidence 606(b), Dkt. 233. Following

        briefing, Dkt. 242; 254 (attached as sealed Exhibit H and Exhibit I),




                                                                                           .9




                                           Dkt. 262; 263.
        9




                                             15
USCA4 Appeal: 23-4509      Doc: 12-1        Filed: 08/14/2023     Pg: 17 of 34




        Dkt. 269 (attached as sealed Exhibit J). The court also denied a motion for a new

        trial. Dkt. 267 (attached as Exhibit K).

              The court sentenced Laffitte to 84 months imprisonment, followed by five

        years of supervised release. Dkt. 316; 317 (attached as Exhibit L and sealed

        Exhibit M). At sentencing, Laffitte’s counsel requested that Laffitte be

        released pending appeal and the opportunity to brief the matter.10 The court denied

        the request to brief the issue and denied the request for an appeal bond from the

        bench, stating that it did not believe that it needed a hearing or briefing. Id. at 2.


                                       STANDARD OF REVIEW

              With exceptions not applicable here, a defendant who appeals his conviction

        is entitled to release pending appeal if he can show (1) by clear and convincing

        evidence that he is not likely to flee or pose a danger to the safety of any other person

        or the community if he is released; (2) that his appeal is not for the purpose of delay;

        and (3) that the appeal raises a “substantial question of law or fact likely to result




        10
           Laffitte has ordered a transcript of the sentencing hearing and will provide it to
        this Court once it is available.

                                                16
USCA4 Appeal: 23-4509     Doc: 12-1         Filed: 08/14/2023    Pg: 18 of 34




        in,” as relevant here, “reversal [or] an order for a new trial.” 18 U.S.C. § 3143(b).

        Laffitte satisfies all these requirements.


                                            ARGUMENT

         I.   Laffitte is not likely to flee, does not pose a danger to the community, and
              is not appealing for the purpose of delay.
              As the magistrate judge acknowledged when granting him pretrial bond, and

        the district court reiterated at his sentencing hearing, Laffitte poses neither a flight

        risk nor a danger to the community. He has surrendered his passport. Dkt. 21 at 19.

                                                                                            See

        PSR ¶¶ 152-157. He is a resident of Hampton County, South Carolina, where his

        family resides, where he was born, and where he has lived and worked since college.

        Dkt. 21 at 11. Dkt. 221 at 1715-16. Even at the trial’s conclusion, the court

        acknowledged that “it’s appropriate to continue the bond, because [Laffitte] has been

        fully compliant throughout the time [he has] been on bond.” Dkt. 223 at 69.

              Furthermore, this appeal is not taken for purposes of delay. As discussed

        below, Laffitte’s appeal will raise meritorious grounds for reversal and a new trial.11




        11
          While Laffitte intends to raise other issues on appeal, including those that relate
        to evidence improperly excluded by the court at trial, this Motion focuses on the
        improper removal of two jurors.

                                               17
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023    Pg: 19 of 34




        II.   The district court is likely to be reversed based on its erroneous removal
              of the two jurors.
              The errors entailed by the removal of these two jurors are “substantial.”

        18 U.S.C. § 3143(b). Removal of either juror alone is sufficient to require reversal,

        and taken together they make the likelihood of that outcome even more certain.


                  a. The district court committed reversible error by removing
                     Juror 88 outside Laffitte’s presence.
              This Court has long held that the Fifth Amendment’s Due Process Clause and

        Federal Rule of Criminal Procedure 43 “require[] the defendant’s presence” at both

        “jury impanelment” and “the removal of jurors.” United States v. Runyon, 707 F.3d

        475, 517 (4th Cir. 2013). It is indisputable that Laffitte was not present when

        Juror 88 was removed, but the district court concluded that he “waive[d] his right to

        object to the juror’s replacement” by agreeing “to a procedure for [her]

        replacement.” Dkt. 267 at 15 (citing United States v. Spruill, 808 F.3d 585, 598

        (2d Cir. 2015)). It is clear that no such waiver occurred.

              In denying Laffitte’s motion for a new trial, the district court explained its

        reasons for concluding that he consented to this juror’s removal:

                     Both defense and the Government counsel agreed to the
                     Court addressing Juror 88’s request to be replaced with an
                     alternate in camera. The only issue with Juror 88 was
                     whether the Court would honor her request to replace her
                     with an alternate. Before departing the courtroom, the
                     Court stated that it intended to speak with Juror 88 and to
                     ‘take action’ on her request to be replaced. There was no
                     objection to the Court’s plan of action.
                                              18
USCA4 Appeal: 23-4509      Doc: 12-1        Filed: 08/14/2023    Pg: 20 of 34




        Dkt. 267 at 13-14 (citation omitted). In addressing Laffitte’s objection following this

        juror’s removal, the court recounted that “defense counsel had plainly agreed to the

        in camera questioning of the juror and for the district court to ‘take action’ on the

        juror’s request to be replaced.” Id. at 15 (citation omitted). The court summarized its

        findings as follows:

                      [Laffitte], through counsel, agreed to the process used by
                      the Court to question Juror 88 in camera and to take action
                      on the request of the juror to be replaced. [Laffitte] was
                      present throughout the entire discussion that led to the
                      adoption of this procedure.

        Id.

                But a review of the transcript demonstrates, unambiguously, that Laffitte’s

        counsel did not agree to an in camera process by which the court would remove any

        juror outside his presence. Counsel agreed to only an in camera interview nothing

        more.

                The court had noted, “I want to hear from everybody before I make a decision”

        to remove any jurors. Dkt. 223 at 56. The district court indicated it also wanted to

        “confirm” the reports of a non-deliberating juror before making any such decisions

        and stated:

                      I can’t let a juror be bumped out one way or the other who
                      says, that’s not accurate, I’m fully participating, they just
                      don’t agree with me. That—you know, that’s not a juror I
                      remove ... I tell them in my charge hold your convictions
                      whatever that is.


                                               19
USCA4 Appeal: 23-4509     Doc: 12-1         Filed: 08/14/2023    Pg: 21 of 34




        Id. at 57. In the end, the court made its decisions without Laffitte’s consent, resulting

        in a juror with strongly-held convictions being “bumped” off the jury because other

        jurors disagreed with her.

              The portion of the transcript (attached in full as Exhibit A) in which the court

        discusses the proposed in camera questioning is reproduced below. At no point did

        Laffitte consent to this juror’s removal—in or out of his presence:

                     THE COURT: … I will need—with the consent of the
                     parties, we are going to set up a place where I will take a
                     court reporter, and without anyone present but the court
                     reporter, I will create a record. And with my deputy and
                     my court reporter, I will ask the juror if there’s a
                     problem.

                     [GOVERNMENT] MS. LIMEHOUSE: Your Honor, we
                     would request that you maybe do the same thing with
                     the juror who’s reporting being anxious. There could be
                     contribution. This sort of environment could be
                     contributing to the anxiety that could be alleviated
                     depending on how you decide to handle the jurors.

                     THE COURT: Do I have the consent of the parties for
                     me creating a record to question the juror?

                     MS. LIMEHOUSE: Yes, as long as it’s on the record, we
                     have no objection, Your Honor.

                     THE COURT: Mr. Daniel?

                     [DEFENSE] MR. DANIEL: Yes, you do have the consent,
                     Your Honor.

                     …



                                               20
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023    Pg: 22 of 34




                     THE COURT: Okay. Ms. Perry, I want you to go in and
                     see if you can get—ask them to identify the juror number,
                     because that may solve several problems if there’s an
                     overlap there.

                     …

                     THE COURT: Okay. I’m going to take action. Fair
                     enough? Everybody happy with that?

        Id. at 56-60 (emphasis added). Nothing in that transcript suggests that Laffitte

        waived his right to be present if the court sought to remove any juror.12

              The court’s contrary conclusion rested on the false premise that Laffitte

        “agreed to the process used by the Court to question Juror 88 in camera and to take

        action on the request of the juror to be replaced.” Dkt. 267 at 15 (emphasis

        added). But the court never stated that it intended to take action “on the request of

        the juror to be replaced.” Id. It simply stated that it was “going to take action.” Id.

        The court never asked Laffitte for consent to make an in camera removal as to any




        12
           It could be argued, based on the record, that Laffitte’s counsel consented only to
        the interview of the allegedly “non-deliberating” juror, who the court identified in
        its March 6, 2023 Order denying the Motion for a New Trial as Juror 93 (Dkt. 267
        at 14) — and not the juror interviewed by the court, Juror 88.




                                              21
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023     Pg: 23 of 34




        juror, and Laffitte did not provide it – indeed, the court’s colloquy with counsel never

        mentioned removal at all. Dkt. 223 at 60. Moreover, the court never addressed

        Laffitte personally during its colloquy – the court never made sure he understood his

        rights and the court’s intentions and never asked for his consent to make an in

        camera removal. And the court failed to inform Laffitte or his counsel of the

        identities of the authors of any of the four notes—critical information which Laffitte

        needed to make important strategic decisions and which was withheld from him

        despite the fact that the court indicated it had provided all of the information in its

        possession concerning the notes.

              The district court claimed to find support for its ruling in the Second Circuit’s

        decision in Spruill, 808 F.3d 585, a case that looks nothing like this one. Spruill

        involved the removal of a juror who informed the court her “gut feeling” was

        “potentially creating a bias” and asked to be replaced. Id. at 590. With the parties’

        consent, the court questioned the juror in their presence, and ultimately dismissed

        her only after both parties agreed to it. Id. at 591-92. The Second Circuit concluded

        that the defendant waived any challenge to that juror’s removal because he “acted

        intentionally when he affirmatively agreed to and, at times, even recommended the

        actions he now challenges.” Id. at 598.

              Here, the court made only one request to which Laffitte’s counsel

        affirmatively consented: “Do I have the consent of the parties for me creating a


                                               22
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023   Pg: 24 of 34




        record to question the juror?” Dkt. 223 at 58 (emphasis added). Laffitte’s counsel

        agreed to an in camera “create[ion]” of “a record,” id., not an in camera juror

        removal.

                Spruill aside, the court’s proposed “procedure” did not contemplate an in

        camera juror-removal determination. At most, it indicated the court’s intention to

        interview a juror and report back. As a result, Laffitte’s trial counsel reasonably

        believed that the court would not make any removal determination without the input

        of the parties, following the in camera interview

                While the Government can be expected to argue that, as it did in the court

        below, that the consent of Laffitte’s counsel to an in camera interview equals consent

        to whatever action the court took following the interview, the record completely

        belies that argument.



        Before Laffitte’s counsel purportedly consented to the removal of Juror 88, the court

        represented to them, “I think I’ve now fully disclosed all my notes.” Dkt. 223 at 52-

        53 (emphasis added). But that was incorrect regarding Juror 88 in several respects.

                                                                                    Dkt. 205

        at 5.




                                              23
USCA4 Appeal: 23-4509     Doc: 12-1         Filed: 08/14/2023    Pg: 25 of 34




                               Id. Had they chosen to consent, which they did not, they would

        have done so based on the court’s mistaken representation that it had fully disclosed

        all available information.



        Thus, any ostensible consent by Laffitte’s attorneys (and to be clear, the record

        indicates there was none) would not have been knowing and voluntary and thus

        would have been ineffective.

               If the court had reported the full results of the interview to the parties and/or

        sought their opinion on potential other questions to be posed to Juror 88, rather than

        simply removing this juror outside Laffitte’s presence, Laffitte would have objected

        to any suggestion that she be removed. During that interview, a transcript of which

        was again first made available to the parties a week after the verdict on

        November 29, 2022,13                                               Dkt. 212 at 2.




        Id. at 3.




        13
          The transcript was docketed and transmitted to trial counsel on November 29,
        2022. Dkt. 212.

                                               24
USCA4 Appeal: 23-4509     Doc: 12-1         Filed: 08/14/2023   Pg: 26 of 34




                                      Id. at 2.



                                                                               This juror was

        experiencing the exact type of behavior that the court stated it would not abide, and

        it was no basis for her removal. See Dkt. 223 at 56-57. The court failed to address

        the bullying the juror was experiencing—it simply dismissed her without Laffitte’s

        consent.

              The court’s removal of this juror was also erroneous because it violated the

        rule, premised on Laffitte’s Sixth Amendment rights, that a court must “deny” any

        request to discharge jurors when it is “reasonably possible” that the request stems

        from their “view[s] of the sufficiency of the government’s evidence.” United

        States v. Brown, 823 F.2d 591, 594 (D.C. Cir. 1987); accord United States v.

        Thomas, 116 F.3d 606, 601-12 (2d Cir. 1997); United States v. Kemp, 500 F.3d 257,

        304 (3d Cir. 2007); United States v. Symington, 195 F.3d 1080, 1084 (9th Cir. 1999);

        United States v. Abbell, 271 F.3d 1286, 1303 (11th Cir. 2001); United States v.

        Ozomaro, 44 F.4th 538, 546-47 (6th Cir. 2022).




                            Dkt. 212 at 2 (emphasis added).


                                                  25
USCA4 Appeal: 23-4509     Doc: 12-1       Filed: 08/14/2023      Pg: 27 of 34




                   Id.



                            Brown, 823 F.2d 591, 594.

              The court committed yet a third error in removing this juror by ignoring this

        Court’s instruction, “given the importance attached to keeping the original jury

        together,” to “consider reasonable alternatives available to it instead of dismissing

        the juror and substituting an alternate.” United States v. Toliver, 793 F. App’x 151,

        160 (4th Cir. 2010). The court failed to consider any reasonable alternatives to this

        juror’s removal. During the in camera interview,



                             Dkt. 212 at 2.




                                                   Id. That was reversible error. See United

        States v. Nelson, 102 F.3d 1344, 1349 (4th Cir. 1996).

              Laffitte’s counsel objected to this juror’s in camera removal immediately after

        the court announced it, and objected again before the jury returned its verdict. See

        Dkt. 223 at 61-66. The Government is thus required to prove “beyond a reasonable


                                              26
USCA4 Appeal: 23-4509       Doc: 12-1        Filed: 08/14/2023   Pg: 28 of 34




        doubt that the jury would have returned a guilty verdict absent the allegedly harmless

        error.” United States v. Garcia-Lagunas, 835 F.3d 479, 488 (4th Cir. 2016) (quoting

        United States v. Camacho, 955 F.2d 950, 955 (4th Cir. 1992)). It will not be able to

        do so.

                                   Dkt. 212 at 2.



        Dkt. 257 at ¶¶ 6, 9, 12, 13, 15. On this basis alone, the verdict should be reversed.


                    b. The court committed reversible error by removing Juror 93.
                 While the removal of Juror 88 alone requires reversal, the removal of

        Juror 93 – the juror who had requested medication – was reversible error as well.

        For the same reasons removing Juror 88 outside Laffitte’s presence violated

        Laffitte’s rights, the court’s removal of Juror 93 violated those rights as well. See

        supra at Section II(a). As discussed in the previous section, Laffitte did not consent

        to the court making an in camera removal of any juror.

                 The district court stated in its Order denying a Motion for New Trial, that it

        was prepared to sit down with the allegedly “non-deliberating” juror, but was

        “advised that this juror was the one with the medication issue and had already been

        sent home by agreement of the parties.” Dkt. 267 at 14. However, the record and

        careful review of the juror notes does not support this conclusion. First, there was

        no prior “agreement of the parties” to remove Juror 93 – the court did this summarily

                                                27
USCA4 Appeal: 23-4509     Doc: 12-1         Filed: 08/14/2023     Pg: 29 of 34




        after conducting the in camera review of Juror 88. The record does not reflect that

        Laffitte (who was never addressed) or his trial counsel agreed to the removal of

        Juror 93 prior to the court’s departure from the courtroom to conduct its interview.

        Second, the record is silent on how the court “was advised” that the “troublesome”

        juror was Juror 93 and who provided this information to the court. Id.




        Dkt. 205 at 4.

              It is true that after the court replaced this juror, Laffitte’s counsel stated that—

        unlike the juror who expressed concerns about anxiety—they “would object not” to

        the replacement of the juror who needed medication and had “agreed with” it.

        Dkt. 223 at 62. But counsel’s statement occurred after the erroneous replacement of

        this juror, not before, and could not cure the error, especially since the record

        contains no indication that Laffitte himself expressed a similar consent. Any such

        consent would not have been knowing and voluntary, moreover, because the court

        did not inform Laffitte or his counsel that it had not discussed the juror’s needs with

        the juror before dismissing her. Laffitte’s counsel were entitled to assume that the

        court had investigated, made a record, and determined, based on evidence, that this

        juror’s medical needs rendered her unable to perform her duties. The court did not

        do any of that,


                                               28
USCA4 Appeal: 23-4509     Doc: 12-1        Filed: 08/14/2023    Pg: 30 of 34




                               . Critically,




                                                                                   . 258 at ¶

        11. Finally, as noted earlier,




                    As a result, any consent to her removal was void.

              Even if Laffitte’s counsel could have retroactively “forfeited” his client’s

        rights as to the juror, the court’s decision to dismiss this juror outside Laffitte’s

        presence amounted to reversible plain error. See United States v. Olano, 507 U.S.

        725, 732-33 (1993).




                               Dkt. 223 at 50; Dkt. 258 ¶ 10.




                                               29
USCA4 Appeal: 23-4509      Doc: 12-1        Filed: 08/14/2023     Pg: 31 of 34




        Dkt. 223 at 50.

                                       Additionally,

                                                                          Dkt. 258 at ¶ 6.




                                                       Allowing this incursion on an accused’s

        right to a jury trial would “seriously affect the fairness, integrity or public reputation

        of judicial proceedings.” See Olano, 507 U.S. at 736.


                                           CONCLUSION
              This Court should grant Laffitte’s motion for release pending appeal. Laffitte

        respectfully requests that this Court act expeditiously because it is anticipated that

        he will be designated to report to a Bureau of Prisons facility within the next few

        weeks.




                                                30
USCA4 Appeal: 23-4509   Doc: 12-1   Filed: 08/14/2023   Pg: 32 of 34




         Dated: August 14, 2023       Respectfully submitted,


                                      /s/ William W. Wilkins
                                      William W. Wilkins
                                      MAYNARD NEXSEN PC
                                      104 S. Main Street, Suite 900
                                      Greenville, SC 29601
                                      Phone: 864.370.2211
                                      Fax: 864.282.1177
                                      Email: bwilkins@maynardnexsen.com

                                      Mark C. Moore
                                      Michael A. Parente
                                      MAYNARD NEXSEN PC
                                      1230 Main Street, Suite 700
                                      Columbia, SC 29201
                                      Phone: 803.771.8900
                                      Fax: 803.253.8277
                                      Email: mmoore@maynardnexsen.com
                                      Email: mparente@maynardnexsen.com

                                      John C. Neiman, Jr.
                                      MAYNARD NEXSEN PC
                                      1901 Sixth Avenue North, Suite 1700
                                      Birmingham, AL 35203
                                      Phone: 205.254.1000
                                      Fax: 205.254.1999
                                      Email: jneiman@maynardnexsen.com

                                      Counsel for Defendant-Appellant
                                      Russell Lucius Laffitte




                                       31
USCA4 Appeal: 23-4509   Doc: 12-1       Filed: 08/14/2023   Pg: 33 of 34




                            CERTIFICATE OF COMPLIANCE
              As required by Rule 32(g)(1) of the Federal Rules of Appellate Procedure,

        I hereby certify that this Defendant-Appellant’s Motion for Release Pending

        Appeal is in compliance with the type form and volume requirements. This

        Motion was prepared using Microsoft Word 2016. It is proportionately spaced;

        uses a Roman-style, serif typeface (Times New Roman) of 14-point; and

        contains 6,855 words, exclusive of the material not counted under Rule 32(f)

        of the Federal Rules of Appellate Procedure.


         Dated: August 14, 2023           /s/ William W. Wilkins
                                          William W. Wilkins

                                          Counsel for Defendant-Appellant
                                          Russell Lucius Laffitte




                                           32
USCA4 Appeal: 23-4509    Doc: 12-1       Filed: 08/14/2023   Pg: 34 of 34




                                  CERTIFICATE OF SERVICE
              I certify that on August 14, 2023, the foregoing Motion for Release Pending

        Appeal was served on counsel of record for all parties through the CM/ECF system.


         Dated: August 14, 2023            /s/ William W. Wilkins
                                           William W. Wilkins

                                           Counsel for Defendant-Appellant
                                           Russell Lucius Laffitte




                                            33
